                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN

DARLENE M. BRUNETT,

                       Plaintiff,
                                                       Case No. 17-CV-1747-JPS
v.

NATIONAL CREDIT ADJUSTERS                                              ORDER
LLC,

                       Defendant.


            Plaintiff asserts claims against Defendant for violations of the Fair

     Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the

     Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., in its

     attempts to collect certain debts from her. (Docket #1). On February 12,

     2018, Plaintiff requested entry of default against Defendant. (Docket #11).

     The Clerk of Court entered default the next day. On February 23, 2018,

     Plaintiff moved for default judgment. (Docket #12). No response to the

     motion has been received, and the time in which to do so has expired. Civ.

     L. R. 7(b).

            Because the Clerk of Court has entered default against Defendant,

     the Court must accept all well-pleaded facts relating to liability as true.

     Graham v. Satkoski, 51 F.3d 710, 713 (7th Cir. 1995). However, that does not

     relieve Plaintiff of the responsibility to prove up her damages under Rule

     55(b)(2) of the Federal Rules of Civil Procedure. Indeed, “even when a

     default judgment is warranted based on a party’s failure to defend, the

     allegations in the complaint with respect to the amount of the damages are




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not deemed true,” and the Court must conduct an inquiry to ascertain the

amount of damages with reasonable certainty. e360 Insight v. The Spamhaus

Project, 500 F.3d 594, 602 (7th Cir. 2007) (quoting In re Catt, 368 F.3d 789, 793

(7th Cir. 2004)). Judgment by default may not be entered without a hearing

on damages unless “the amount claimed is liquidated or capable of

ascertainment from definite figures contained in the documentary evidence

or in detailed affidavits.” Id. (quoting Dundee Cement Co. v. Howard Pipe &

Concrete Prods., Inc., 722 F.2d 1319, 1323 (7th Cir. 1983)).

       Plaintiff claims the following items of damages:

       1)     Statutory damages pursuant to the FDCPA of $1,000.00 for

              Defendant’s wrongful collection conduct, 15 U.S.C. §

              1692k(a)(2)(A);

       2)     Statutory damages pursuant to the TCPA of $9,500.00,

              calculated at a rate of $500.00 per improper telephone call

              Defendant placed to Plaintiff, 47 U.S.C. § 227(b)(3)(B); and

       3)     Attorney’s fees and costs pursuant to the FDCPA of $4,098.75,

              15 U.S.C. § 1692k(a)(3).

See (Docket #12 at 2-3). These figures total $14,598.75.

       Here, the claimed amounts are easily capable of ascertainment from

the allegations of the Complaint, the statutory damages provisions of each

statute, and the representations in Plaintiff’s motion and attached

evidentiary materials. This information demonstrates that Defendant’s

conduct violated both the FDCPA and the TCPA, and that Plaintiff is

entitled to statutory damages under each statute. It further shows that




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Plaintiff may recover at least the amounts she seeks.1 Thus, the Court

having determined “that defendant[] [is] liable to plaintiff as to each cause

of action alleged in the complaint,” by its entry of default, and that

Plaintiff’s claimed amounts for statutory damages and attorney’s fees are

reasonably certain and well-supported, the Court will now grant Plaintiff’s

requested default judgment and award her the requested amounts for those

items. Breuer Elec. Mfg. Co. v. Toronado Sys. of Am., Inc., 687 F.2d 182, 186 (7th

Cir. 1982). Plaintiff also seeks post-judgment interest, (Docket #12 at 3),

which the Court will provide for in the judgment.

             Accordingly,

             IT IS ORDERED that Plaintiff’s motion for default judgment

(Docket #12) be and the same is hereby GRANTED; Defendant shall pay to

Plaintiff the total sum of $14,598.75 together with post-judgment interest as

provided by law; and

             IT IS FURTHER ORDERED that this action be and the same is

hereby DISMISSED.

             The Clerk of Court is directed to enter judgment accordingly.

             Dated at Milwaukee, Wisconsin, this 20th day of March, 2018.

                                                           BY THE COURT:



                                                           ____________________________________
                                                           J. P. Stadtmueller
                                                           U.S. District Judge




																																																								
         While Plaintiff has suggested that the amounts stated are minimum
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figures, the Court will decline her implied suggestion to exceed those figures. It
will not increase the amount of damages without a request for a sum certain.


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